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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                      Case No. 9:24-cv-80639

   BRENDA’S BIRDS, INC., a Florida
   corporation,

          Plaintiffs,

   v.

   BRENDA A. FLYNN, individually,
   WILLIAM F. FLYNN, individually, and
   BRENDA & BILLY’S AVIARY, INC., a
   Florida corporation,

         Defendants,
   ____________________________________/


                                           COMPLAINT

         Plaintiff, BRENDA’S BIRDS, INC. (“Plaintiff” or “Brenda’s Birds”), a Florida

  corporation, sues Defendants BRENDA A. FLYNN, individually, WILLIAM F. FLYNN,

  individually, and BRENDA & BILLY’S AVIARY, INC., a Florida corporation, and alleges:

                                      Jurisdiction and Venue

         1.      This is an action for trademark false designation of origin, and unfair competition

  pursuant to 15 U.S.C. § 1125, unfair competition, and tortious interference with prospective

  economic advantage, under Florida common law, and for false, deceptive and misleading

  advertising under Fla. Stat. §501.204 and §817.41. Accordingly, this Court has jurisdiction under

  15 U.S.C. §1121, 28 U.S.C. §§1331, 1367 and 1338.

         2.      This Court also has supplemental jurisdiction over this matter’s state law claims

  under 28 U.S.C. §1367 as the state law claims are integrally interrelated with Plaintiff’s federal

  claims and arise from a common nucleus of operative facts such that the administration of
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  Plaintiff’s state law claims with its federal claims further the interest of judicial economy.

          3.      This Court has personal jurisdiction over Defendants because Defendants are each

  located within this District, do substantial business and sales in this District, advertise, distribute,

  offer for sale and promote the infringing mark in this District. Defendants have committed tortious

  acts in this District against Plaintiff whose principal place of business is located within this District.

          4.      Venue is proper in this Court pursuant to 28 U.S.C. §1391.

                                                     PARTIES

          5.      Defendant BRENDA A. FLYNN (“Brenda Flynn”) is a resident of and conducts

  business in Palm Beach County, Florida, and is otherwise sui juris.

          6.      Defendant WILLIAM F. FLYNN (“Billy Flynn”) is a resident of and conducts

  business in Palm Beach County, Florida, and is otherwise sui juris.

          7.      Defendant BRENDA & BILLY’S AVIARY, INC., formerly known as BRENDA’S

  BIRDS & BILLY’S PETS, INC. (“Brenda & Billy’s” and together with Brenda Flynn and Billy

  Flynn, the “Defendants”), which Plaintiff is informed and believes is a wholly owned by Brenda

  Flynn and Billy Flynn, is a Florida corporation with offices and operations in Palm Beach County,

  Florida.

          8.      Venue is proper in Palm Beach County because this is the county where the

  Defendants conduct business and in which the events giving rise to Plaintiffs’ claims occurred.

                               Fact Allegations Common to All Counts

          9.      Brenda’s Birds was founded in 1992 by Robert Turner (“Bob Turner”) and his wife,

  Rosemary Turner (deceased), of Delray Beach, Florida, and incorporated on or about May 26,

  1994, for the purpose of owning and operating a pet store named Brenda’s Birds (“Store”) offering

  exotic birds, bird grooming, bird boarding, and bird feed and supplies. The Turners began using

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  the name “Brenda’s Birds” since as early as 1992.

         10.     The Store was developed and opened in response to the tremendous growth and

  success of a home-based bird breeding business launched in the late 1980s by the Turners, both of

  whom were Certified Avian Specialists and Bob Turner remains so today.

         11.     Over the next thirty plus years, Brenda’s Birds built a reputation as a leading aviary

  and supply throughout Florida and beyond based on Bob Turner’s aviary expertise, credentials,

  and business acumen.

         12.     Bob Turner owns one hundred percent (100%) of the issued and outstanding shares

  of corporate stock in Brenda’s Birds.

         13.     The trade names “Brenda’s Birds” and, alone, “Brenda’s,” together with associated

  trademarks, in the context of the Store branding have become synonymous with exotic pet birds

  and related products and services, and have gained a secondary meaning, within the Florida and

  broader national aviary market.

         14.     These trade names/trademarks and others, such as “Bbirds” addressed in greater

  detail below, are regularly used independently in print and digital media including, without

  limitation, on social media sites which account for a significant portion of the Store’s marketing

  efforts. For example, there are hundreds of images on Brenda’s Birds Facebook page and other

  social media using the different trade names and trademarks of Plaintiff including simply

  “Brenda’s” superimposed on photos of exotic birds available for adoption.

         15.     Plaintiff’s staff also regularly identifies it simply as “Brenda’s” when greeting

  customers by phone and in-person at the Store.

         16.     Brenda Flynn (née Turner) is the youngest of four children of Bob Turner and

  Rosemary Turner and, having had taking an interest early on as a young teenager in her parents’

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  newfound bird breeding business, is the Store’s namesake.

          17.    Brenda Flynn worked at her parents’ Store as a young adult for approximately six

  years from the time it opened until 1999 and was not employed or otherwise associated in any way

  with Brenda’s Birds or the Store for the next twenty plus years.

          18.    In 2019, Brenda Flynn (then McBrinn) recommended to her then 78-year-old

  father, Bob Turner, that Brenda’s Birds terminate its Store manager and hire her then fiancé (now

  husband), Billy Flynn, as the Store manager.

          19.    Having unqualified trust in his daughter at the time, Bob Turner hired Billy Flynn

  as Brenda’s Birds Store manager in or around the summer of 2019, and Bob Turner entrusted

  primary management of the Store to him seemingly without issue or incident up through February

  2022.

          20.    But in or around March 2022, Brenda Flynn had a falling out with her father over

  unrelated personal matters, and unbeknownst to Bob Turner at the time and for another two years,

  Brenda Flynn, despite Plaintiff having never rehired her, had already begun meddling in the Store’s

  operations and finances, as well as in other assets of her parents.

          21.    For example, Brenda Flynn had already secured a power of attorney (“POA”) from

  her mother, Rosemary Turner, in October 2017, well after Rosemary Turner was diagnosed with

  dementia and determined incompetent by her medical care providers.

          22.    As another example (and the subject of a separate quiet title lawsuit in Vermont),

  on or about July 21, 2020, Brenda Flynn procured Bob Turner’s signature on a document, the

  content and legal effect of which she falsely represented would pass title to certain real property

  owned by the Turners since October 2011 in Dover, Vermont (“Dover Property”), upon their

  deaths, to their children outside of probate. But as Bob Turner later learned, the document was in

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  fact a quitclaim deed purportedly transferring all right, title, and interest of the Turners in the Dover

  Property to Brenda Flynn, and was even executed by Brenda Flynn (to herself) as agent for

  Rosemary Turner under the invalid POA which, in any event, expressly precluded the agent from

  making any gifts (much less a gift to herself) or changes to rights of survivorship or the estate plan

  of the principal.

          23.     Months later, on April 24, 2021, Brenda Flynn, without prior authorization from or

  knowledge of Bob Turner, and under penalty of perjury, added herself as treasurer of Brenda’s

  Birds on the 2021 annual report filed with the Florida Department of State, facilitating her

  unfettered access to all of Plaintiff’s banking and tax records.

          24.     And immediately following the March 2022 falling out with her father, Brenda

  Flynn commandeered operations of the Store from Robert Turner, taking over exclusive control of

  its valuable Facebook and Instagram and other social media accounts, its official email account

  address, brendasbirds12@gmail.com, and its official website, www.brendasbirds.com.

          25.     At Brenda Flynn’s direction, Billy Flynn and the then accountant for the Store,

  Judith Denton (“Denton”), began withholding certain information from Bob Turner, and the

  Flynns began making unauthorized withdrawals from Brenda’s Birds’ corporate bank account and

  charges on its American Express (“Amex”) card for personal expenses such as, without limitation,

  expensive dinners, a Prime Video subscription, and monthly dues for a wine club membership.

          26.     As later discovered, the Flynns had also opened competing social media accounts

  including, without limitation, an Instagram account and a Facebook page by the name of “Bbirds”

  which Plaintiff had also been using in commerce as a brand identifier and is Plaintiff’s public

  facing username, or handle, on the www.hoobly.com advertising website and other advertising

  platforms which, again, are significant marketing tools upon which Plaintiff relies for the success

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  of its business. Postings of images to the Flynns’ social media accounts consisted exclusively of

  images of Plaintiff’s intellectual property including, without limitation, images of the Store’s

  logos, photos of exotic birds superimposed with Plaintiff’s trade names and trademarks, and even

  photos and videos taken inside the Store.

         27.     Defendants’ competing Facebook page includes an introduction to the business of

  “Bbirds,” later renamed “Brenda’s Bird & Billy’s Pets,” and now named “Brenda & Billy’s

  Aviary” which reads: “We have been in the bird industry since the late 80’s. Our focus is quality

  sweet hand fed babies, excellent products and customer service. We are certified Avian Specialists

  since 1992.” This is language describing Plaintiff and paraphrased from content on Plaintiff’s

  website, www.brendasbirds.com.

         28.     Despite increasing bitterness from his daughter and concerns with the Store’s

  business, and having at this point reached the age of 80 years old and adjusting to life after the

  recent loss of his wife of 62 years, Bob Turner, still unaware of the full extent of the Flynns’

  malfeasance, attempted to cooperate with the Flynns including, without limitation, by continuing

  to employ and give raises to Billy Flynn and engaging in discussions regarding the potential sale

  of the Store to Brenda Flynn.

         29.     Aside from the desire for familial harmony, Bob Turner was also driven by duress

  to cooperate with the Flynns as a significant portion of his income was derived from Store profits

  and Brenda’s Birds was responsible for repayment on substantial loans from Bob Turner which

  he, in turn, funded by a mortgage on his personal residence and credit card.

         30.     However, as the issues with the Dover Property came to light and the words, acts,

  and omissions of the Flynns increasingly threatened his income and loan payments and the very

  survival of the business he had built over the prior thirty (30) plus years, Bob Turner made the

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  decision to sell the Store.

          31.     On April 25, 2023, Bob Turner advised Brenda Flynn of his intent to sell the Store,

  demanding her cooperation by not impeding or interfering with Bob Turner’s access to all financial

  books and records of Brenda’s Birds; and he demanded that Brenda Flynn quitclaim any and all

  interest she claimed in the Dover Property back to Bob Turner which, in any event, was a condition

  precedent to any sale of the Store to the Flynns.

          32.     The Flynns’ reaction to Bob Turner’s April 25, 2023, correspondence was

  immediate and malicious, with proclamations in no uncertain terms to friends and family that based

  on how she had purportedly grown the store, Brenda Flynn was entitled to and, together with Billy

  Flynn, was taking over 100% ownership in the Store.

          33.     Brenda Flynn immediately directed Billy Flynn to stop sending the Store’s daily

  cash and credit card sales reports to Bob Turner.

          34.     Denton immediately withdrew all cooperation with Bob Turner and denied him

  access to any financial books and records of the Store; he was even denied access to his own

  personal tax records which Denton prepared and maintained for him.

          35.     Bob Turner’s access to the Store’s business and financial information after April

  25, 2023, was limited to Plaintiff’s operating account which showed dwindling receipts and its

  Amex account which showed increasing unauthorized expenses charged by the Flynns.

          36.     Without the benefit of daily credit card sales reports from Billy Flynn anymore,

  Bob Turner could not reconcile the transfers from Plaintiff’s merchant account to Plaintiff’s

  operating account.

          37.     And when Billy Flynn likewise refused to provide daily cash sales reports to Bob

  Turner after April 25, 2023, the Flynns simultaneously stopped making cash deposits into

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  Plaintiff’s operating account.

          38.      Over the ensuing nine (9) months following April 25, 2023, the Flynns would blame

  the Store’s increasing financial struggles on Bob Turner’s alleged overspending, at one point

  offering Bob Turner to simply give the Store to Brenda Flynn “provided there remains $35,000.00

  (exclusive of money for deposits to purchase inventory, if any) in the bank account of the

  business.”

          39.      However, after Bob Turner was ultimately able to regain control of the Store from

  the Flynns on January 31, 2024, Plaintiff discovered, and continues to discover despite the Flynns’

  destruction of an untold volume of Plaintiff’s electronic and hard copy business records to cover

  their tracks, facts confirming the true cause of the Store’s near financial collapse in 2022 and 2023:

  The Flynns, with the assistance of Denton, orchestrated a not so sophisticated scheme to embezzle

  Brenda’s Birds money and assets and use the ill-gotten gains of their conspiracy to start a

  competing business if Bob Turner otherwise refused to hand the Store over to Brenda Flynn at a

  nominal price.

          40.      It was discovered that a year prior, on January 14, 2023, Brenda Flynn used the

  Brenda’s Bird corporate Amex to purchase a smartphone and new cell service and number,

  (561)306-9572, which was used in marketing including, without limitation, in Brenda’s Birds

  advertisements using the “Bbirds” Trade Name on industry websites such as www.hoobly.com.

  The (561)306-9572 was made available to customers of Brenda’s Birds for communicating with

  the Flynns at the Store via text as an alternative to the Store’s landline. The (561)306-9572 was

  routinely provided in emails from the Flynns to Brenda’s Birds’ customers, using the Store’s

  brendasbirds12@gmail.com account, as an alternative to the Store’s landline.

          41.      Bob Turner later learned that immediately following their receipt of Bob Turner’s

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  April 25, 2023, correspondence, the Flynns incorporated “Brenda’s Birds & Billy’s Pets, Inc.,”

  effective May 8, 2023, with the Florida Department of State.

         42.     Armed with a new phone number and a corporate FEIN, the Flynns then procured

  a business operating account for their new company and a merchant services account to accept

  credit card payments.

         43.     While the Flynns’ purchases of inventory ostensibly for the Store using Plaintiff’s

  Amex or bank account remained steady, Store revenues declined for reasons now clear: The Flynns

  were selling Store inventory to Store customers but processing credit card payments through the

  “Brenda’s Birds & Billy’s Pets, Inc.” merchant services account, thereby diverting unknown sums

  of revenue from Plaintiff to their new company using the identical “Brenda’s Birds” Trade Name

  intended to confuse the public and syphon customers.

         44.     For example, a copy of a Store invoice recently provided by one of Brenda’s Birds

  customer reflects the sale of a 7-month-old Greenwing Macaw to the customer located in Mars,

  PA, for $6,199.00, with $250 in shipping, for a total of $6,449.00, on or about September 27, 2023;

  and a copy of the credit card receipt provided by the customer reflects the payment was processed

  through the “Brenda’s Birds & Billy’s Pets, Inc.” merchant services account with Network

  Merchants, Inc. (“NMI”).

         45.     As another example of the Flynn’s embezzlement, a Brenda’s Bird’s customer from

  Miami, Florida, purchased a Blue Indian Ringneck for $1,386.76 on January 5, 2024, with his

  credit card processed through the Brenda & Billy’s NMI account, which the Flynns never delivered

  to the customer. Plaintiff was not made aware until the customer contacted the Store in late

  February 2024, providing Plaintiff proof of purchase and copies of his text messages exchanged

  with the Flynns on the (561)306-9572 cell phone just days prior, between February 23 and 26,

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   2024, in which the Flynns admitted they sold the customer the bird but advising the customer that

   “[a]t this point we will have to get the police involved. . . . They will [h]ave to either refund you

   or give you a bird[.] You have the proof of [e]verything.”

           46.    Further, given clear historical trends of cash deposits into Plaintiff’s operating

   account from daily cash sales at the Store in the decades prior to April 25, 2023, there are tens of

   thousands of dollars in cash sales to Store customers during the Flynns’ control stolen by the

   Defendants.

           47.    Over the remainder of 2023, Bob Turner continued efforts to obtain access to

   Plaintiff’s books and records by terminating Denton and hiring a new accountant, but the Flynns’

   obstruction and interference continue unbated with refusals to cooperate with Denton’s

   replacement.

           48.    Negotiations between Bob Turner and Brenda Flynn regarding her acquisition of

   the Store and reconveyance of the Dover Property stalled by the summer of 2023, and Bob Turner

   experienced serious health issues in the fall of 2023.

           49.    All the while, the Flynns continued embezzling from the Store and their scheme to

   raid the corporate assets of Brenda’s Birds with the goal of either falsely deflating its market value

   in hopes of acquiring the Store from Bob Turner at a nominal price or, if he refused, simply

   converting the assets of Plaintiff for their own use and benefit through a competing business,

   Brenda’s Birds & Billy’s Pets.

           50.    Indeed, equipped with the (561)306-9572 cell phone and NMI merchant services

   account, the Flynns had already been operating surreptitiously as Brenda’s Birds & Billy’s Pets in

   the background of the official Brenda’s Birds selling Plaintiff’s inventory and syphoning the

   Store’s customers, with exclusive use and control over the Store location and landline phone, the

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   Store’s social media accounts, the Store’s brendasbirds12@gmail.com email account, the Store’s

   website, and even Bob Turner’s personal Facebook page with nearly 2,000 followers comprised

   mostly of Brenda’s Birds followers on social media.

           51.    After months of silence, Brenda Flynn presented Bob Turner with a proposed

   Purchase and Sale Agreement for the Store on January 30, 2024, and with a portfolio of established

   social media accounts filled with content of all things Brenda’s Birds and considerable working

   capital funded by their ill-gotten gains, the Flynns were prepared to immediately set up shop

   elsewhere under the new “Brenda’s Birds & Billy’s Pets” if Bob Turner did not accept the woefully

   inadequate purchase offer.

           52.    Brenda Flynn clearly did not intend to negotiate the purchase and sale of the Store

   with her father in good faith and less than 24 hours later revoked her purchase offer; and on January

   31, 2024, the Flynns then walked out of the Store for the last time, taking with them or otherwise

   destroying and manipulating the bulk of Plaintiff’s electronic and hard copy business records

   including, without limitation, past sales orders and invoices, past boarding contracts, emails, social

   media messages, and other customer data.

           53.    The Flynns also locked Plaintiff out from all of its and Bob Turner’s valuable social

   media accounts including Facebook, Instagram, and TikTok, and sabotaged the e-commerce

   functions of Plaintiff’s website, www.brendasbirds.com.

           54.    Further, in addition to the large sum of money embezzled from Plaintiff,

   Defendants raided the Store of substantial inventory of birds, bird cages, and other aviary products

   and supplies including, without limitation, three Scarlet Macaws valued at more than $15,000.

           55.    Defendants immediately thereafter began holding themselves out to the public as

   the successor to Plaintiff and announcing plans for the grand opening of a new location less than

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   two and one half miles from the Store, all the while misappropriating Plaintiff’s “Brenda’s Birds,”

   “Brenda’s,” and “Bbirds” trade names/trademarks and answering the (561)306-9572 cell phone as

   “Brenda’s Birds” or “Brenda’s,” causing substantial and ongoing confusion within the aviary

   industry between the original “Brenda’s Birds” and the Flynns’ new “Brenda’s Birds & Billy’s

   Pets.”

            56.   Prior to their exit from the Store, the Flynns installed cameras at the Store capable

   of monitoring activity at the Store from the Flynns’ personal residence, which were not discovered

   by Plaintiff for a considerable time following it regaining control of the Store.

            57.   Despite repeated demands from Plaintiff, Defendants refused to: turn over access

   to Plaintiff’s social media accounts and website; return inventory taken from the Store; surrender

   the (561)306-9572 cell phone; turn over Plaintiff’s financial, customer, and other business books

   and records; cease and desist from using and infringing upon the “Brenda’s Birds,” “Brenda’s,”

   and “Bbirds” trade names/trademarks in their business and holding themselves out as the successor

   to Brenda’s Birds; provide any accounting of missing cash and credit sales reports; or otherwise

   cease and desist from wrongfully and tortiously interfering with Plaintiff’s substantial and valuable

   customer relationships and unlawfully impeding Plaintiff’s ability to resume successful business

   operations.

            58.   The limited and negligible extent to which Defendants have complied with certain

   demands of Plaintiff under threat of litigation, such as an inconsequential change to the name of

   the corporate Defendant, is “too little, too late;” Defendants had already successfully launched a

   competitive business intentionally and maliciously infringing upon Plaintiff’s “Brenda’s Birds,”

   “Brenda’s” and “Bbirds” trade names/trademarks, funded substantially, if not wholly, by the ill-

   gotten gains of Defendants’ embezzlement of Plaintiff’s money and assets.

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           59.    Plaintiff has suffered extensive damages as a direct result of Defendants’ unlawful

   conduct and Plaintiff will continue to suffer irreparable harm if the Defendants are not temporarily

   and permanently enjoined from continuing such malfeasance.

           60.    Plaintiff has retained the undersigned counsel to prosecute this action on its behalf

   and is obligated to pay reasonable attorneys’ fees to the law firm of the undersigned counsel for

   such representation in prosecuting this matter.

                          COUNT I – FALSE DESIGNATION OF ORIGIN
                              Of TRADEMARK (15 U.S.C. §1125)

           61.    Plaintiff re-alleges and incorporates by this reference the allegations contained in

   paragraphs 1 through 60 above, as if fully set forth under this Count.

           62.    In violation of 15 U.S.C. §1125(a), Defendants, independently and in conspiracy

   with one another, used in commerce a slogan, trade dress, word, term , name, symbol, or device,

   or a combination thereof, or a false designation of origin, false or misleading description of fact,

   or false or misleading representation of fact, which was and is likely to cause confusion or to cause

   mistake, or to deceive consumers as to an affiliation, connection, or association with Plaintiff

           63.    Without limitation, Defendants willfully used trade names bearing infringing

   versions of Plaintiff’s “Brenda’s Birds,” “Brenda’s” and “Bbirds” trade names and infringed on

   Plaintiff’s nationwide common law rights therein. Defendants also falsely designated the

   Plaintiff’s “Brenda’s Birds,” “Brenda’s” and “Bbirds” trade names/trademarks, and products

   offered for sale by them, as originating/being distributed by Plaintiff, when they are not.

           64.    As a direct and proximate result of Defendants’ willful misconduct, Plaintiff has

   suffered, and is suffering, economic damages and irreparable harm to the value and goodwill

   associated with its common-law trademarks, including Plaintiff’s “Brenda’s Birds,” “Brenda’s”

   and “Bbirds” trade names/trademarks, and associated reputations, brand values, and goodwill.
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           65.     Unless Defendants are restrained and enjoined from further infringement of

   Plaintiff’s “Brenda’s Birds,” “Brenda’s” and “Bbirds” trade names/trademarks, and from falsely

   designating their origin with Plaintiff, Plaintiff will continue to be economically damaged and

   irreparably harmed.

           66.     Plaintiff has no adequate remedy at law that could compensate it for the continued

   and irreparable harm it has suffered, and will continue to suffer, if Defendants’ infringement and

   dilution are allowed to continue. Thus, Plaintiff seeks, and it entitled to, preliminary and permanent

   injunctive relief.

           67.     As a direct and proximate result of Defendants’ willful misconduct, Defendants

   have earned illicit profits, and Plaintiff has suffered lost profits from lost sales, in amounts not yet

   known but to be determined at trial. Plaintiff is entitled to damages, trebled damages, and

   reasonable attorneys’ fees, in amounts not yet known, but to be determined at trial.

           WHEREFORE, Plaintiff demands judgment against Defendants as follows:

           1)      For judgment that:

                   a. All Defendants have violated Section 43 of the Lanham Act, 15 U.S.C. § 1125

                        (unfair competition, false designation of origin, common-law trademark and

                        trade dress infringement);

                   b. In all instances, Defendants acted in bad faith, willfully, intentionally, and/or in

                        malicious disregard of Plaintiff's protected rights.

           2)      For an order preliminarily and permanently enjoining Defendants, their agents,

   their servants, their employees, and their officers, and all those acting in concert or participation

   with them, who receive actual notice by personal service or otherwise, pending the final hearing

   and determination of this action, from directly or indirectly, anywhere in the world:

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                    a. Manufacturing, making, buying, purchasing, importing, shipping, delivering,

                       advertising, marketing, promoting, offering to sell, selling, or otherwise

                       distributing or disposing of, in any manner, any counterfeit or infringing

                       products or services bearing:

                               i. Infringing or counterfeit versions of the Brenda’s Birds and BBirds

                                   tradenames/trademarks, which appear alone or in combination;

                                   and/or

                               ii. The false statement that such products/services are "Affiliated or

                                   derived and/or sold by Plaintiff or Mr. Turner", or otherwise under

                                   Plaintiff's control or supervision, when they are not;

                    b. Committing acts calculated to cause purchasers to believe that infringing

                       Brenda’s Birds and BBirds tradenames/trademarks products originate with

                       Plaintiff, when they do not;

                    c. In any way infringing or damaging the Brenda’s Birds and BBirds

                       tradenames/trademarks, or the value or goodwill associated therewith;

                    d. Attempting, causing, or assisting in any of the above-described acts, including

                       but not limited to enabling others in the above-described acts, or passing on

                       information to others to allow them to do so; and

                    e. Forming or causing to be formed any corporation or other entity that engages

                       in the above-described acts.

          3)        For an order requiring Defendants to cooperate with Plaintiff in good faith in its

   investigation of counterfeit sales at their retail and wholesale establishments, including, without

   limitation by:

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                 a. Permitting Plaintiff's representatives or their designees to conduct inspections

                     of Defendants' inventories of products to determine if any such products are

                     counterfeit or otherwise infringing, or otherwise belonging to Plaintiff and

                     permitting Plaintiff's representatives to obtain and retain possession of any such

                     counterfeit products;

         4)      For an order:

                 a. Requiring Defendants to account for and pay over to Plaintiff all profits derived

                     from their wrongful misconduct to the full extent provided for by Section 35(a)

                     of the Lanham Act, 15 U.S.C. § 11 l 7(a);

                 b. Requiring Defendants to account for and pay to Plaintiff enhanced damages

                     resulting from their wrongful misconduct to the full extent provided for by

                     Section 35(6) of the Lanham Act, 15 U.S.C. § 1117(6);

                 c. Awarding Plaintiffs damages, or statutory damages in an amount not less than

                     $2 million ($2,000,000) per trademark pursuant to Section 35(c) of the Lanham

                     Act,15 U.S.C. § 1117(c), or in the alternative $200,000 per trademark pursuant

                     to 15 U.S.C. §1117(c)(l);

                 d. Awarding any and all other damages permitted by the Lanham Act, including

                     compensation for damage to the value of Plaintiff’s trademarks, its reputation

                     among U.S. consumers, its goodwill, and other damages in an amount not yet

                     known, but to be proved at trial;

                 e. Awarding Plaintiff its costs of suit, including reasonable attorneys' fees and

                     investigation costs; and

                 f. Awarding such other and further relief as this Court deems just and proper.

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          COUNT II – FEDERAL UNFAIR COMPETITION (LANHAM ACT § 43(a))

          68.     Plaintiff re-alleges and incorporates by this reference the allegations contained in

   paragraphs 1 through 60 above, as if fully set forth under this Count.

          69.     Defendants’ use of Plaintiff’s “Brenda’s Birds,” “Brenda’s” and “Bbirds” trade

   names/trademarks tends to falsely describe their products and services within the meaning of the

   Lanham Act. Defendants’ conduct is likely to cause confusion, mistake, or deception by or in the

   public as to the affiliation, connection, association, origin, sponsorship, or approval of Defendants’

   products and services to the detriment of Plaintiff and consumers.

          70.     As a direct and proximate result of Defendants’ infringing activities, Plaintiff is

   entitled to recover Defendants’ unlawful profits and Plaintiff’s substantial damages under 15

   U.S.C. § 1117(a).

          71.     Defendants’ infringement of Plaintiff’s “Brenda’s Birds,” “Brenda’s” and “Bbirds”

   trade names/trademarks is an exceptional case and was intentional, entitling Plaintiff to treble the

   amount of its damages and profits, and to an award of attorneys’ fees under 15 U.S.C. § 1117(a).

          72.     Plaintiff is entitled to injunctive relief pursuant to 15 U.S.C. § 1116(a).

          WHEREFORE, Plaintiff demands judgment against Defendants as follows:

          1)      For judgment that:

                  a. All Defendants have violated Section 43 of the Lanham Act, 15 U.S.C. § 1125

                       (unfair competition, false designation of origin, common-law trademark and

                       trade dress infringement);

                  b. In all instances, Defendants acted in bad faith, willfully, intentionally, and/or in

                       malicious disregard of Plaintiff's protected rights.

          2)      For an order preliminarily and permanently enjoining Defendants, their agents,

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   their servants, their employees, and their officers, and all those acting in concert or participation

   with them, who receive actual notice by personal service or otherwise, pending the final hearing

   and determination of this action, from directly or indirectly, anywhere in the world:

                  a. Manufacturing, making, buying, purchasing, importing, shipping, delivering,

                      advertising, marketing, promoting, offering to sell, selling, or otherwise

                      distributing or disposing of, in any manner, any counterfeit or infringing

                      products or services bearing:

                               i. Infringing or counterfeit versions of the Brenda’s Birds and BBirds

                                   tradenames/trademarks, which appear alone or in combination;

                                   and/or

                              ii. The false statement that such products/services are "Affiliated or

                                   derived and/or sold by Plaintiff or Mr. Turner", or otherwise under

                                   Plaintiff's control or supervision, when they are not;

                  b. Committing acts calculated to cause purchasers to believe that infringing

                      Brenda’s Birds and BBirds tradenames/trademarks products originate with

                      Plaintiff, when they do not;

                  c. In any way infringing or damaging the Brenda’s Birds and BBirds

                      tradenames/trademarks, or the value or goodwill associated therewith;

                  d. Attempting, causing, or assisting in any of the above-described acts, including

                      but not limited to enabling others in the above-described acts, or passing on

                      information to others to allow them to do so; and

                  e. Forming or causing to be formed any corporation or other entity that engages

                      in the above-described acts.

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          3)        For an order requiring Defendants to cooperate with Plaintiff in good faith in its

   investigation of counterfeit sales at their retail and wholesale establishments, including, without

   limitation by:

                    a. Permitting Plaintiff's representatives or their designees to conduct inspections

                       of Defendants' inventories of products to determine if any such products are

                       counterfeit or otherwise infringing, or otherwise belonging to Plaintiff and

                       permitting Plaintiff's representatives to obtain and retain possession of any such

                       counterfeit products;

          4)        For an order:

                    a. Requiring Defendants to account for and pay over to Plaintiff all profits derived

                       from their wrongful misconduct to the full extent provided for by Section 35(a)

                       of the Lanham Act, 15 U.S.C. § 11 l 7(a);

                    b. Requiring Defendants to account for and pay to Plaintiff enhanced damages

                       resulting from their wrongful misconduct to the full extent provided for by

                       Section 35(6) of the Lanham Act, 15 U.S.C. § 1117(6);

                    c. Awarding Plaintiffs damages, or statutory damages in an amount not less than

                       $2 million ($2,000,000) per trademark pursuant to Section 35(c) of the Lanham

                       Act,15 U.S.C. § 1117(c), or in the alternative $200,000 per trademark pursuant

                       to 15 U.S.C. §1117(c)(l);

                    d. Awarding any and all other damages permitted by the Lanham Act, including

                       compensation for damage to the value of Plaintiff’s trademarks, its reputation

                       among U.S. consumers, its goodwill, and other damages in an amount not yet

                       known, but to be proved at trial;

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                  e. Awarding Plaintiff its costs of suit, including reasonable attorneys' fees and

                      investigation costs; and

                  f. Awarding such other and further relief as this Court deems just and proper.

       COUNT III – FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES ACT
                           (Fla. Stat §§501.201 to 501.213)

          73.     Plaintiff re-alleges and incorporates by this reference the allegations contained in

   paragraphs 1 through 60 above, as if fully set forth under this Count.

          74.     Defendants’ actions specified in the paragraphs incorporated into this Count

   constitute unfair and deceptive acts or practices in conduct of trade or commerce in violation of

   Florida Statute §501.204.

          75.     Defendants willfully used or practiced these unlawful acts under §501.204, and

   knew or should have known that their acts were unlawful and would damage Plaintiff and injure

   consumers deceptively.

          76.     Defendants Brenda Flynn and Billy Flynn condoned, directed, and participated in

   the decision to adopt and use Defendant Brenda & Billy’s infringing trade names, domain name,

   and social media accounts, all infringing upon Plaintiff’s “Brenda’s Birds,” “Brenda’s” and

   “Bbirds” trade names/trademarks in Defendant Brenda & Billy’s advertising keywords for services

   in the aviary industry within the same geographic area.

          77.     Plaintiff has been damaged directly and proximately by Defendants’ unlawful

   actions.

          78.     Plaintiff is entitled to recover actual damages, plus reasonable attorney’s fees and

   costs, for Defendants’ violation of the Florida Deceptive and Unfair Trade Practices Act.

          WHEREFORE, Plaintiff Brenda’s Birds, Inc., respectfully requests that this Court enter

   judgment against Defendants, BRENDA A. FLYNN, WILLIAM F. FLYNN, and BRENDA &
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   BILLY’S AVIARY, INC., and each of them, jointly and severally, for damages in an amount to

   be proven at trial, together with costs and a reasonable attorneys’ fees as may be recoverable by

   law or in equity; and grant any and all other relief this Court deems just and proper.

                         COUNT IV – BREACH OF FIDUCIARY DUTIES

             79.   Plaintiff re-alleges and incorporates by this reference the allegations contained in

   paragraphs 1 through 60 above, as if fully set forth under this Count.

             80.   When Brenda Flynn designated herself as the “treasurer” of Plaintiff on its 2021

   Annual Report and began engaging in the business operations of the Store in no later than April

   2021, albeit unilaterally and voluntarily, she undertook a fiduciary duty of loyalty to Plaintiff and

   its sole shareholder, Bob Turner.

             81.   When Billy Flynn accepted the position as the Store manager for Plaintiff in or

   around 2019, he undertook a fiduciary duty of loyalty to Plaintiff and its sole shareholder, Bob

   Turner.

             82.   The actions of Defendants Brenda Flynn and Billy Flynn, and each of them,

   specified in the paragraphs incorporated into this Count constitute breaches of their fiduciary duties

   of loyalty to Plaintiff when the they began withholding information from Plaintiff’s sole

   shareholder and director, Bob Turner; misappropriating Store revenues for personal benefit;

   embezzling Store funds and assets; and eventually forming and syphoning Store customers through

   Brenda’s Birds and Billy’s Pets, Inc., all while misrepresenting to the Store’s customers and

   vendors that they were the lawful owners of or were lawfully taking over Plaintiff’s business.

             83.   Plaintiff has been damaged directly and proximately by the Flynns’ unlawful

   actions and breaches of fiduciary duties and is entitled to recover actual damages from the Flynns,

   and each of them.

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             84.    The Flynns’ egregious conduct alleged above constitutes breaches of fiduciary

   duties under circumstances resulting in and having the adverse effect of a wholesale

   misappropriation of nearly Plaintiff’s entire business, directly causing damages to Plaintiff equal

   to no less than the goodwill value associated with the Store’s business as a “going concern” prior

   to the Flynns’ misappropriation of same.

             85.    Given the extent to which the Flynns embezzled money from, and raided the assets

   and syphoned customers of, the Store in breach of their fiduciary duties to Plaintiff, the imposition

   of a constructive trust is warranted over Brenda and Billy’s, a business built entirely on the

   goodwill of and rightfully owned by Plaintiff, until such time as a judgment for damages is

   satisfied.

             WHEREFORE, Plaintiff Brenda’s Birds, Inc., respectfully requests that this Court enter

   judgment against Defendants BRENDA A. FLYNN, and WILLIAM F. FLYNN, and each of them,

   jointly and severally, for damages in an amount to be proven at trial together with costs and

   reasonable attorneys’ fees as may be recoverable by law or in equity, and imposing a constructive

   trust over the business of Defendant BRENDA & BILLY’S AVIARY, INC., until such time as

   such judgment for damages is satisfied; and grant any and all other relief this Court deems just and

   proper.

                                           COUNT V – FRAUD

             86.    Plaintiff re-alleges and incorporates by this reference the allegations contained in

   paragraphs 1 through 60 above, as if fully set forth under this Count.

             87.    The actions of Defendants Brenda Flynn and Billy Flynn, and each of them,

   specified in the paragraphs incorporated into this Count constitute actual, but no less than

   constructive, fraud.

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          88.     Brenda Flynn and Billy Flynn, and each of them, made and at all relevant times

   continued to make material representations to Plaintiff that they, and each of them, in their

   respective officer/managerial roles would act and were acting in the best interest of Plaintiff and

   its shareholder, Bob Turner, when operating and managing the Store, and that they would not

   engage and were not engaging in self-dealing.

          89.     Such material representations were made in reference to ensuring the successful

   continuity of the Store’s business, and for the purpose of inducing Plaintiff to rely on such

   representations in continuing to employ and extend raises to Billy Flynn and to eventually sell the

   Store to Brenda Flynn.

          90.     Plaintiff reasonably relied upon such material representations of the Flynns to its

   detriment.

          91.     As alleged above, such representations made by the Flynns, or either of them, were

   false and the Flynns each knew such representations were false. However, at all relevant times,

   Brenda Flynn and Billy Flynn had a fiduciary relationship to Plaintiff and its shareholder, Bob

   Tuner, by virtue of their respective managerial positions at the Store and, therefore, regardless of

   their intent at the time any such misrepresentations were made, such false representations

   constitute no less than constructive fraud.

          92.     The Flynns, instead of acting in the best interest of Plaintiff and its shareholder,

   Bob Turner, in operating and managing the Store as represented, were engaging in extensive fraud

   upon Plaintiff by embezzling money from and raiding the assets of Plaintiff, eventually forming

   and syphoning Store customers through Brenda’s Birds and Billy’s Pets, Inc., and misrepresenting

   to the Store’s customers and vendors that they were the lawful owners of or were lawfully taking

   over Plaintiff’s business.

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             93.    Plaintiff has been damaged directly and proximately by the Flynns’ unlawful

   actions and fraud and is entitled to recover actual damages from the Flynns, and each of them.

             94.    The Flynns’ egregious conduct alleged above constitutes fraud under circumstances

   resulting in and having the adverse effect of a wholesale misappropriation of nearly Plaintiff’s

   entire business, directly causing damages to Plaintiff equal to no less than the goodwill value

   associated with the Store’s business as a “going concern” prior to the Flynns’ misappropriation of

   same.

             95.    Given the extent to which the Flynns embezzled money from, and raided the assets

   and syphoned customers of, the Store in the commission of their fraud against Plaintiff, the

   imposition of a constructive trust is warranted over Brenda and Billy’s, a business built entirely

   on the goodwill of and rightfully owned by Plaintiff, until such time as a judgment for damages is

   satisfied.

             WHEREFORE, Plaintiff Brenda’s Birds, Inc., respectfully requests that this Court enter

   judgment against Defendants BRENDA A. FLYNN, and WILLIAM F. FLYNN, and each of them,

   jointly and severally, for damages in an amount to be proven at trial together with costs and

   reasonable attorneys’ fees as may be recoverable by law or in equity, and imposing a constructive

   trust over the business of Defendant BRENDA & BILLY’S AVIARY, INC., until such time as

   such judgment for damages is satisfied; and grant any and all other relief this Court deems just and

   proper.

                                      COUNT VI – CONVERSION

             96.    Plaintiff re-alleges and incorporates by this reference the allegations contained in

   paragraphs 1 through 60 above, as if fully set forth under this Count.

             97.    Plaintiff has clear legal right, title, and interest to and ownership of all of its

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   confidential and proprietary business information and customer lists including, without limitation,

   past sales orders and invoices, past boarding contracts, emails, social media messages, and other

   customer data; its tangible assets including, without limitation, inventory of birds, bird cages, and

   other aviary products and supplies (including, without limitation, three Scarlet Macaws valued at

   more than $15,000); and all other tangible and intangible assets and resources necessary for its

   continued success of Plaintiff’s business as a leading aviary and supply throughout Florida and

   beyond.

           98.    Defendants’ actions specified in the paragraphs incorporated into this Count

   constitute conversion by virtue of the acts of dominion wrongfully asserted by Defendants, and

   each of them, over Plaintiff’s tangible and intangible property including, without limitation,

   Plaintiff’s “Brenda’s Birds,” “Brenda’s” and “Bbirds” trade names/trademarks and the goodwill

   associated therewith, wholly inconsistent with any of the Defendants’ ownership therein and

   wrongfully depriving Plaintiff of such assets the possession to which it is entitled.

           99.    Plaintiff has been damaged directly and proximately by the Defendants’ unlawful

   actions and conversion and is entitled to recover actual damages from the Defendants, and each of

   them.

           100.   Further, it would be inequitable for Defendants, or any of them, to maintain

   ownership or possession over such assets rightfully belonging to Plaintiff.

           101.   The Defendants’ egregious conduct alleged above constitutes wrongful conversion

   under circumstances resulting in and having the adverse effect of a wholesale misappropriation of

   nearly Plaintiff’s entire business, directly causing damages to Plaintiff equal to no less than the

   goodwill value associated with the Store’s business as a “going concern” prior to the Defendants’

   misappropriation of same.

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           102.   Given the extent to which the Flynns embezzled money from, and raided the assets

   and syphoned customers of, the Store through Brenda’s Birds and Billy’s Pets, Inc., in the

   commission of the Defendants’ conversion of Plaintiff’s tangible and intangible assets, the

   imposition of a constructive trust is warranted over Brenda and Billy’s, a business built entirely

   on the goodwill of and rightfully owned by Plaintiff, until such time as a judgment for damages is

   satisfied.

           WHEREFORE, Plaintiff Brenda’s Birds, Inc., respectfully requests that this Court enter

   judgment against Defendants BRENDA A. FLYNN, WILLIAM F. FLYNN, and BRENDA &

   BILLY’S AVIARY, INC., and each of them, jointly and severally, for damages in an amount to

   be proven at trial together with costs and reasonable attorneys’ fees as may be recoverable by law

   or in equity, for return of any and all tangible and intangible assets of Plaintiff still in Defendants’

   possession, and imposing a constructive trust over the business of Defendant BRENDA &

   BILLY’S AVIARY, INC., until such time as such judgment for damages is satisfied; and grant

   any and all other relief this Court deems just and proper.

                            COUNT VII – TORTIOUS INTERFERENCE

           103.   Plaintiff re-alleges and incorporates by this reference the allegations contained in

   paragraphs 1 through 60 above, as if fully set forth under this Count.

           104.   Defendants’ actions specified in the paragraphs incorporated into this Count

   constitute tortious interference by each of them with the existing and prospective business

   relationships of Plaintiff with its customers and vendors.

           105.   Defendants, and each of them, were intimately aware of and familiar with the

   existing business relationships Plaintiff enjoyed with its customers and vendors, including those

   vendors with which the Store had trade credit relationships; and Defendants were equally aware

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   of and familiar with the prospective business relationships Plaintiff enjoyed as a leading aviary

   and supply throughout Florida and nationally as a result of the goodwill associated with its

   successful business operations over the 30 plus years prior to Defendants’ misappropriation of

   same.

           106.   As alleged above, Defendants interfered with such relationships of Plaintiff,

   forming Brenda’s Birds and Billy’s Pets, Inc., and misrepresenting to the Store’s customers and

   vendors that they were the lawful owners of or were lawfully taking over Plaintiff’s business.

           107.   Defendants’ egregious conduct alleged above was intentional and unjustified, and

   constitutes tortious interference with Plaintiff’s advantageous business relationships, both existing

   and prospective.

           108.   Plaintiff has been damaged directly and proximately by the Defendants’ unlawful

   actions and tortious interference with its advantageous business relationships and is entitled to

   recover actual damages from the Defendants, and each of them.

           109.   The Defendants’ egregious conduct alleged above constitutes tortious interference

   with Plaintiff’s advantageous business relationships under circumstances resulting in and having

   the adverse effect of a wholesale misappropriation of nearly Plaintiff’s entire business, directly

   causing damages to Plaintiff equal to no less than the goodwill value associated with the Store’s

   business as a “going concern” prior to the Defendants’ misappropriation of same.

           110.   Given the extent to which the Flynns embezzled money from, and raided the assets

   and syphoned customers of, the Store through Brenda’s Birds and Billy’s Pets, Inc., in the

   commission of their tortious interference with Plaintiff’s advantageous business relationships, the

   imposition of a constructive trust is warranted over Brenda and Billy’s, a business built entirely

   on the goodwill of and rightfully owned by Plaintiff, until such time as a judgment for damages is

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   satisfied.

           WHEREFORE, Plaintiff Brenda’s Birds, Inc., respectfully requests that this Court enter

   judgment against Defendants BRENDA A. FLYNN, WILLIAM F. FLYNN, and BRENDA &

   BILLY’S AVIARY, INC., and each of them, jointly and severally, for damages in an amount to

   be proven at trial together with costs and reasonable attorneys’ fees as may be recoverable by law

   or in equity, and imposing a constructive trust over the business of Defendant BRENDA &

   BILLY’S AVIARY, INC., until such time as such judgment for damages is satisfied; and grant

   any and all other relief this Court deems just and proper.

                                COUNT VIII – CIVIL CONSPIRACY

           111.   Plaintiff re-alleges and incorporates by this reference the allegations contained in

   paragraphs 1 through 60 above, as if fully set forth under this Count.

           112.   Defendants’ actions specified in the paragraphs incorporated into this Count

   constitute a civil conspiracy among each of them and others not named as defendants herein.

           113.   Defendants, and each them, together with Denton, agreed amongst themselves to a

   scheme designed to embezzle money and assets from the Store, syphon Store customers, and use

   the ill-gotten gains of the conspiracy to fund a competing business, Brenda’s Birds and Billy’s

   Pets, Inc., if Plaintiff otherwise refused to sell the Store to Brenda Flynn at a nominal price.

           114.   As alleged above, the Defendants, and each of them, together with Denton, carried

   out such acts of embezzlement, deceptive and unfair trade practices, breaches of loyalty, fraud,

   conversion, and tortious interference all in pursuance of their conspiracy.

           115.   Plaintiff has been damaged directly and proximately by the Defendants’ unlawful

   actions in pursuance of their conspiracy against Plaintiff and is entitled to recover actual damages

   from the Defendants, and each of them.

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          116.    The Defendants’ egregious conduct alleged above constitutes a civil conspiracy

   under circumstances resulting in and having the adverse effect of a wholesale misappropriation of

   nearly Plaintiff’s entire business, directly causing damages to Plaintiff equal to no less than the

   goodwill value associated with the Store’s business as a “going concern” prior to the Flynns’

   misappropriation of same.

          117.    Given the extent to which the Flynns embezzled money from, and raided the assets

   and syphoned customers of, the Store through Brenda’s Birds and Billy’s Pets, Inc., in pursuance

   of their conspiracy against Plaintiff, the imposition of a constructive trust is warranted over Brenda

   and Billy’s, a business built entirely on the goodwill of and rightfully owned by Plaintiff, until

   such time as a judgment for damages is satisfied.

          WHEREFORE, Plaintiff Brenda’s Birds, Inc., respectfully requests that this Court enter

   judgment against Defendants BRENDA A. FLYNN, WILLIAM F. FLYNN, and BRENDA &

   BILLY’S AVIARY, INC., and each of them, jointly and severally, for damages in an amount to

   be proven at trial together with costs and reasonable attorneys’ fees as may be recoverable by law

   or in equity, and imposing a constructive trust over the business of Defendant BRENDA &

   BILLY’S AVIARY, INC., until such time as such judgment for damages is satisfied; and grant

   any and all other relief this Court deems just and proper.




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                                      DEMAND FOR JURY TRIAL:

   Plaintiff claims and demands a jury trial as to all issues so triable.

           Dated: May 17, 2024                             Respectfully submitted,

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